Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 1 of 19          PageID 1




                   UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION


JEREMY GREY,                            *
an individual,                          *
                                        *
       PLAINTIFF,                       *
                                        *
v.                                      * Case No. 2:22-cv-02387
                                        *
RAINA ENTERPRISES INC,                  *
a domestic corporation,                 *
                                        *
           DEFENDANT.                   *


                                  COMPLAINT

       Plaintiff JEREMY GREY (“Grey” or “Plaintiff”) hereby sues Defendant,

RAINA ENTERPRISES INC, a domestic corporation, (hereinafter “Defendant”)

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”),

and its implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R.

Part 36 (“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.




                                                                            Page 1 of 19
 Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 2 of 19             PageID 2




§ 12181 et seq., based upon Defendant’s, RAINA ENTERPRISES INC’s, failure to

remove physical barriers to access and violations of Title III of the ADA.

       2.    Venue is properly located in the WESTERN DISTRICT OF

TENNESSEE IN THE WESTERN DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred. The Defendant’s property is located in and does business within this

judicial district and all events giving rise to this lawsuit occurred in this judicial

district.

       3.    Plaintiff, JEREMY GREY, is and has been at all times relevant to the

instant matter, a natural person residing in Tennessee and is sui juris.

       4.    Plaintiff is an individual with disabilities as defined by the ADA.

       5.    Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.    Plaintiff uses a wheelchair for mobility purposes.

       7.    Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

                                                                                Page 2 of 19
 Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 3 of 19          PageID 3




community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.     Defendant, RAINA ENTERPRISES INC, is a domestic corporation

conducting business in the State of Tennessee and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.     On or about February of 2022, Plaintiff attempted to but was deterred

from patronizing and/or gaining equal access as a disabled patron to the Stage

Express Gas Station located at 4509 Stage Rd, Memphis, TN 38128 (“Subject

Facility”, “Subject Property”).

      10.    RAINA      ENTERPRISES        INC    is   the   owner,   lessor,   and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Stage Express Gas Station and its attendant facilities,

including vehicular parking and common exterior paths of travel within the site

identified by the Shelby County Assessor parcel identification number 088008

00187 (“Subject Facility”, “Subject Property”).

      11.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Stage Road, a Shelby County thoroughfare that he

                                                                             Page 3 of 19
 Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 4 of 19           PageID 4




frequents routinely, he is routinely where the Subject Property is located and travels

in and about the immediate area of the Subject Property numerous times every

month, if not every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, RAINA ENTERPRISES INC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or as soon as the barriers to access detailed in this Complaint

are removed. The purpose of the revisit is to be a regular patron, to determine if and

when the Subject Property is made accessible, and to maintain standing for this

lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patrons as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

                                                                              Page 4 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 5 of 19          PageID 5




expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.



                                                                            Page 5 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 6 of 19           PageID 6




     19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

                                                                             Page 6 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 7 of 19           PageID 7




and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, RAINA ENTERPRISES INC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, RAINA ENTERPRISES INC, will continue to discriminate

against Plaintiff and others with disabilities unless and until RAINA

ENTERPRISES INC, is compelled to remove all physical barriers that exist at the

Subject Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:




                                                                             Page 7 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 8 of 19         PageID 8




                    ACCESSIBLE ROUTES/PARKING
                             (Exterior)

          a. The is no visible upright signage (displaying the
             International Symbol of Accessibility) designating
             parking spaces as accessible in violation of Section 4.6
             of the 1991 ADAAG and Section 502 of the 2010
             ADAAG. These violations made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff loss of opportunity.

          b. There is no van accessible parking identified as such
             with upright “Van Accessible” signage in violation of
             Section 4.6 of the 1991 ADAAG and Sections 208, 302
             and 502 of the 2010 ADAAG. These violations made
             it dangerous for Plaintiff to utilize the parking facility
             at the Subject Property and caused Plaintiff loss of
             opportunity.

          c. There are slope variations at the purported accessible
             parking spaces with changes in direction that have
             caused a compound cross slope in violation of Sections
             4.5.1 and 4.6.3 of the 1991 ADAAG and Section 302,
             403, and 502.4 of the 2010 ADAAG. These violations
             made it dangerous for Plaintiff to utilize the parking
             facility at the Subject Property and caused Plaintiff loss
             of opportunity.

          d. The paint delineating the accessible parking spaces and
             access aisles is not being maintained so that it clearly
             marks the accessible parking location in violation of 28
             CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
             Section 502.3.3 of the 2010 ADAAG. These violations
             made it dangerous for Plaintiff to utilize the parking
             facility at the Subject Property and caused Plaintiff loss
             of opportunity.
                                                                          Page 8 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 9 of 19           PageID 9




          e. The access aisles are too narrow in violation of Section
             4.1 of the 1991 ADAAG and Section 503 of the 2010
             ADAAG. These violations made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff loss of opportunity.

          f. There is no van-accessible parking present in violation
             of Section 4.6 of the 1991 ADAAG and Section 502 of
             the 2010 ADAAG. These violations made it dangerous
             for Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff loss of opportunity.

          g. There is no accessible route provided within the site
             from the public sidewalk which serves the facility.
             There is no accessible route connecting the public
             sidewalk serving the subject facility and any accessible
             entrance(s) in violation of Section 4.3.2 of the 1991
             ADAAG and Section 206.2.1 of the 2010 ADAAG.
             These violations made it dangerous for Plaintiff to
             utilize the parking facility at the Subject Property and
             caused Plaintiff loss of opportunity.

          h. The exterior propane tank storage positioned on the
             built-up storefront curb does not have enough level
             maneuvering clearance on the curb for a wheelchair
             user to gain access to the propane tank storage outward
             swinging doors. There is not enough clear ground
             space(s) for forward or side reach access to the propane
             tank storage doors in violation of Sections 4.2.5 and/or
             4.2.6 of the 1991 ADAAG and Section 306 of the 2010
             ADAAG. These violations made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff loss of opportunity.




                                                                            Page 9 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 10 of 19          PageID 10




                                        RAMP

            i. The access aisle adjacent to the designated accessible
               spaces has a curb ramp projecting into it and/or has
               surfaces which are otherwise not level in all directions
               in violation of 28 CFR § 36.211, Section 4.6.3 of the
               1991 ADAAG and Section 502.4 of the 2010 ADAAG.
               These violations made it dangerous for Plaintiff to
               utilize the parking facility at the Subject Property and
               caused Plaintiff loss of opportunity.

            j. The ramp to the accessible entrance (the only means of
               access to wheelchair users) has a run which exceeds the
               maximum slope requirement (8.33%) set forth in
               Section 4.7.2 of the 1991 ADAAG and Section 406.1
               of the 2010 ADAAG. These violations made it
               dangerous for Plaintiff to utilize the parking facility at
               the Subject Property and caused Plaintiff loss of
               opportunity.

            k. The curb ramp leading to the entrance of the Subject
               Property from the parking facility has flared sides,
               which are steeper than 1:10. This is in
               violation of 28 CFR § 36.211, 4.7.5 of the 1991
               ADAAG, and 406.3 of 2010 ADAAG. These
               violations made it dangerous for Plaintiff to utilize the
               parking facility at the Subject Property and caused
               Plaintiff loss of opportunity.

                                      INTERIOR

            l. The pressure setting on the accessible restroom door
               closer has not been maintained properly by Defendant
               which has caused the pressure required to open/close
               the restroom door to increase with time and use such
               that the restroom door requires excessive force to open.
               The restroom door requires more than the maximum
                                                                            Page 10 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 11 of 19          PageID 11




               allowable opening force for an interior hinged door (5
               foot pounds-force) in violation of Section 4.13.11 of
               the 1991 ADAAG and Section 404.2.9 of the 2010
               ADAAG Standards. These violations made it
               dangerous for Plaintiff to utilize the parking facility at
               the Subject Property and caused Plaintiff loss of
               opportunity.

            m. The restrooms have door closers that cause the
               restroom doors to close too quickly. The sweep speed
               settings of the door closers for the accessible
               restrooms’ doors have not been maintained properly by
               Defendant which has caused the door closing speed to
               increase with time and use so that the time allowed to
               transition the door, from an open position of 90 degrees
               to a position of 12 degrees from the latch, is too brief
               to allow individuals with mobility impairments to enter
               and/or exit safely, independently and/or without
               difficulty in violation of Section 4.13.10 of the 1991
               ADAAG and Section 404.2.8 of the 2010 ADAAG.
               These violations made it dangerous for Plaintiff to
               utilize the parking facility at the Subject Property and
               caused Plaintiff loss of opportunity.

            n. The restrooms have door closers that cause the
               restroom doors to close too quickly. The sweep speed
               settings of the door closers for the accessible
               restrooms’ doors have not been maintained properly by
               Defendant which has caused the door closing speed to
               increase with time and use so that the time allowed to
               transition the door, from an open position of 90 degrees
               to a position of 12 degrees from the latch, is too brief
               to allow individuals with mobility impairments to enter
               and/or exit safely, independently and/or without
               difficulty in violation of Section 4.13.10 of the 1991
               ADAAG and Section 404.2.8 of the 2010 ADAAG.
               These violations made it dangerous for Plaintiff to
                                                                            Page 11 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 12 of 19           PageID 12




               utilize the parking facility at the Subject Property and
               caused Plaintiff loss of opportunity.

                           MAINTENANCE PRACTICES

            o. Defendant has a practice of failing to maintain the
               accessible features of the facility, creating barriers to
               access for the Plaintiff, as set forth herein, in violation
               of 28 CFR § 36.211. This practice prevented access to
               the plaintiff equal to that of Defendant’s able-bodied
               customers causing Plaintiff loss of opportunity.

            p. Defendant has a practice of failing to maintain the
               accessible elements at the Subject Facility by
               neglecting its continuing duty to review, inspect, and
               discover transient accessible elements which by the
               nature of their design or placement, frequency of usage,
               exposure to weather and/or other factors, are prone to
               shift from compliant to noncompliant so that said
               elements may be discovered and remediated.
               Defendant failed and continues to fail to alter its
               inadequate maintenance practices to prevent future
               recurrence of noncompliance with dynamic accessible
               elements at the Subject Facility in violation of 28 CFR
               § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
               These violations, as set forth hereinabove, made it
               impossible for Plaintiff to experience the same access
               to the goods, services, facilities, privileges, advantages
               and accommodations of the Subject Facility as
               Defendant’s able-bodied patrons and caused Plaintiff
               loss of opportunity.

            q. Defendant has failed to modify its discriminatory
               maintenance practices to ensure that, pursuant to its
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
                                                                             Page 12 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 13 of 19         PageID 13




                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the Subject

Location’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, he has

actual notice that the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic


                                                                           Page 13 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 14 of 19          PageID 14




accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages, and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

                                                                            Page 14 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 15 of 19           PageID 15




Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

                                                                             Page 15 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 16 of 19          PageID 16




36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, RAINA ENTERPRISES INC, is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, RAINA ENTERPRISES INC, pursuant to 42

U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal




                                                                            Page 16 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 17 of 19              PageID 17




access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

      40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.     That the Court find Defendant, RAINA ENTERPRISES
             INC, in violation of the ADA and ADAAG;

      B.     That the Court enter an Order requiring Defendant,
             RAINA ENTERPRISES INC, to (i) remove the physical
             barriers to access and (ii) alter the Subject Property to
             make the Subject Property readily accessible to and
             useable by individuals with disabilities to the full extent
             required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendant,
             pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
             to maintain its accessible features and equipment so that
             the facility remains accessible to and useable by
             individuals with disabilities to the full extent required by
             Title III of the ADA;

      D.     That the Court enter an Order directing Defendant to
             implement and carry out effective policies, practices, and
             procedures to maintain the accessible features and
                                                                                Page 17 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 18 of 19          PageID 18




             equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
             §36.211.

      E.     That the Court enter an Order directing Defendant to
             evaluate and neutralize its policies and procedures towards
             persons with disabilities for such reasonable time so as to
             allow them to undertake and complete corrective
             procedures;

      F.     An award of attorneys’ fees, costs (including expert fees),
             and litigation expenses pursuant to 42 U.S.C. § 12205 and
             an award of monitoring fees associated with insuring that
             the Defendant is in compliance with the ADA.

      G.     An award of interest upon the original sums of said award
             of attorney’s fees, costs (including expert fees), and other
             expenses of suit; and

      H.     Such other relief as the Court deems just and proper,
             and/or is allowable under Title III of the Americans with
             Disabilities Act.

Dated this the 16th day of June, 2022.


                                         Respectfully submitted,

                                         By: /s/ Davis A. Stephenson
                                         Davis A. Stephenson
                                         Counsel for Plaintiff
                                         Tennessee State Bar No.: 39015
                                         Wampler, Carroll, Wilson, and
                                         Sanderson, P.C.
                                         208 Adams Avenue
                                         Memphis, TN 38103
                                         Telephone: (901)-523-1844
                                         Email: alex@wcwslaw.com




                                                                            Page 18 of 19
Case 2:22-cv-02387-JTF-cgc Document 1 Filed 06/16/22 Page 19 of 19   PageID 19




DEFENDANT TO BE SERVED:
RAINA ENTERPRISES INC
C/O ARUNA KUMARI KOLLURI
4509 STAGE RD.
MEMPHIS, TN 38128




                                                                     Page 19 of 19
